Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 1 of 35 PageID #: 2583




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   January 30, 2023


   BY ECF
   The Honorable Margo K. Brodie
   United States District Judge
   Eastern District of New York
   United States Courthouse
   225 Cadman Plaza East
   Brooklyn, NY 11201

   Re:           SEC v. GPB Capital Holdings LLC, et al., No. 21-cv-00583-MKB-VMS
   Dear Chief Judge Brodie:
   We represent the Court-appointed monitor, Joseph T. Gardemal III (the “Monitor”), in the above-
   referenced matter. Pursuant to paragraph 23 of the Court’s Amended Order appointing the Monitor, dated
   April 14, 2021 (the “Amended Order”), we respectfully submit the attached presentation as the Monitor’s
   quarterly report for the fourth quarter of 2022. Paragraph 23 of the Amended Order directs the Monitor to
   file with the Court “a full report reflecting (to the best of the Monitor’s knowledge as of the period
   covered by the report) the status of the reviews contemplated in paragraphs 8 through 14” of the
   Amended Order. Certain portions of the report have been redacted, as authorized by Paragraph 23 of the
   Amended Order, “to protect sensitive, proprietary information.” As required by the Amended Order, this
   quarterly report is also being served on the SEC, GPB Capital Holdings, LLC, and the Attorney General
   of the State of New York. Accordingly, pursuant to paragraph 23 of the Amended Order, we respectfully
   submit the quarterly report of the Monitor for the fourth quarter of 2022 for the Court’s review.


   Respectfully submitted,



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Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 2 of 35 PageID #: 2584




                          EXHIBIT 1
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 3 of 35 PageID #: 2585
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 4 of 35 PageID #: 2586
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 5 of 35 PageID #: 2587
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 6 of 35 PageID #: 2588
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 7 of 35 PageID #: 2589
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 8 of 35 PageID #: 2590
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 9 of 35 PageID #: 2591
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 10 of 35 PageID #: 2592
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 11 of 35 PageID #: 2593
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 12 of 35 PageID #: 2594
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 13 of 35 PageID #: 2595
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 14 of 35 PageID #: 2596
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 15 of 35 PageID #: 2597
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 16 of 35 PageID #: 2598
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 17 of 35 PageID #: 2599
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 18 of 35 PageID #: 2600
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 19 of 35 PageID #: 2601
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 20 of 35 PageID #: 2602
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 21 of 35 PageID #: 2603
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 22 of 35 PageID #: 2604
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 23 of 35 PageID #: 2605
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 24 of 35 PageID #: 2606
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 25 of 35 PageID #: 2607
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 26 of 35 PageID #: 2608
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 27 of 35 PageID #: 2609
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 28 of 35 PageID #: 2610
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 29 of 35 PageID #: 2611
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 30 of 35 PageID #: 2612
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 31 of 35 PageID #: 2613
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 32 of 35 PageID #: 2614
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 33 of 35 PageID #: 2615
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 34 of 35 PageID #: 2616
Case 1:21-cv-00583-MKB-VMS Document 127 Filed 01/30/23 Page 35 of 35 PageID #: 2617
